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      K. PHILLIP TAYLOR
 6
 7
                                 UNITED STATES DISTRICT COURT
 8
                                CENTRAL DISTRICT OF CALIFORNIA
 9
10                                                     Case No.:
      K. PHILLIP TAYLOR,
11                 Plaintiff,                          COMPLAINT FOR INJUNCTIVE
                                                       RELIEF AND DAMAGES FOR DENIAL
12          vs.                                        OF CIVIL RIGHTS OF A DISABLED
                                                       PERSON IN VIOLATIONS OF
13
                                                       1. AMERICANS WITH DISABILITIES
14                                                     ACT, 42 U.S.C. §12131 et seq.;
      MULBERRY EXCHANGE
15    CORPORATION; MAHENDRA PATEL;                     2. CALIFORNIA’S UNRUH CIVIL
      and DOES 1 to 10,                                RIGHTS ACT;
16
                   Defendants.                         3. CALIFORNIA’S DISABLED
17                                                     PERSONS ACT;
18                                                     4. CALIFORNIA HEALTH & SAFETY
                                                       CODE;
19
                                                       5. NEGLIGENCE
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21
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23
            Plaintiff K. PHILLIP TAYLOR (“Plaintiff”) complains of Defendants
24
      MULBERRY EXCHANGE CORPORATION; MAHENDRA PATEL; and DOES 1 to
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      10 (“Defendants”) and alleges as follows:
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                                               PARTIES
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            1.     Plaintiff is a California resident with a physical disability. Plaintiff suffers
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      from Cerebrovascular disease, a condition that has severely affected his physical abilities.


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 1    As a result, he has been disabled since 1999 and is dependent on a wheelchair for
 2    mobility. Plaintiff requires the use of a wheelchair at all times when traveling in public.
 3             2.   Defendants are, or were at the time of the incident, the real property owners,
 4    business operators, lessors and/or lessees of the real property for a motel (“Business”)
 5    located at or about 1440 W. Mission Blvd., Ontario, California.
 6             3.   The true names and capacities, whether individual, corporate, associate or
 7    otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
 8    who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
 9    Court to amend this Complaint when the true names and capacities have been
10    ascertained. Plaintiff is informed and believes, and, based thereon, alleges that each such
11    fictitiously named Defendants are responsible in some manner, and therefore, liable to
12    Plaintiff for the acts herein alleged.
13             4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
14    times, each of the Defendants was the agent, employee, or alter-ego of each of the other
15    Defendants, and/or was acting in concert with each of the other Defendants, and in doing
16    the things alleged herein was acting with the knowledge and consent of the other
17    Defendants and within the course and scope of such agency or employment relationship.
18             5.   Whenever and wherever reference is made in this Complaint to any act or
19    failure to act by a defendant or Defendants, such allegations and references shall also be
20    deemed to mean the acts and failures to act of each Defendant acting individually, jointly
21    and severally.
22                                  JURISDICTION AND VENUE
23             6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
24    1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
25    seq.).
26             7.   Pursuant to pendant jurisdiction, attendant and related causes of action,
27    arising from the same nucleus of operating facts, are also brought under California law,
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 1    including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 2    54, 54., 54.3 and 55.
 3          8.     Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
 4          9.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 5    property which is the subject of this action is located in this district, San Bernardino
 6    County, California, and that all actions complained of herein take place in this district.
 7                                      FACTUAL ALLEGATIONS
 8          10.    In or about September of 2024, Plaintiff went to the Business.
 9          11.    The Business is a motel business establishment, open to the public, and is a
10    place of public accommodation that affects commerce through its operation. Defendants
11    provide parking spaces for customers.
12          12.    While attempting to enter the Business during each visit, Plaintiff personally
13    encountered a number of barriers that interfered with his ability to use and enjoy the
14    goods, services, privileges, and accommodations offered at the Business.
15          13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
16    included, but were not limited to, the following:
17                 a.     Defendants failed to comply with the federal and state standards for
18                        the parking space designated for persons with disabilities. Defendants
19                        failed to provide an access aisle with level surface slope as there was a
20                        permanent rain channel installed within the boundary of the access
21                        aisle.
22                 b.     Defendants failed to maintain the parking space designated for
23                        persons with disabilities to comply with the federal and state
24                        standards. Defendants failed to provide accessible parking space
25                        designated for persons with disabilities as there were obstructions
26                        such as a “not an exit” sign and cone blocking access to the handicap
27                        parking space and access aisle.
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 1          14.    These barriers and conditions denied Plaintiff the full and equal access to the
 2    Business and caused Plaintiff difficulty and frustration. Plaintiff wishes to return and
 3    patronize the Business; however, Plaintiff is deterred from visiting the Business because
 4    his knowledge of these violations prevents him from returning until the barriers are
 5    removed.
 6          15.    Based on the violations, Plaintiff alleges, on information and belief, that
 7    there are additional barriers to accessibility at the Business after further site inspection.
 8    Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
 9    Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
10          16.    In addition, Plaintiff alleges, on information and belief, that Defendants
11    knew that particular barriers render the Business inaccessible, violate state and federal
12    law, and interfere with access for the physically disabled.
13          17.    At all relevant times, Defendants had and still have control and dominion
14    over the conditions at this location and had and still have the financial resources to
15    remove these barriers without much difficulty or expenses to make the Business
16    accessible to the physically disabled in compliance with ADDAG and Title 24
17    regulations. Defendants have not removed such barriers and have not modified the
18    Business to conform to accessibility regulations.
19                                       FIRST CAUSE OF ACTION
20           VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
21          18.    Plaintiff incorporates by reference each of the allegations in all prior
22    paragraphs in this complaint.
23          19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
24    shall be discriminated against on the basis of disability in the full and equal enjoyment of
25    the goods, services, facilities, privileges, advantages, or accommodations of any place of
26    public accommodation by any person who owns, leases, or leases to, or operates a place
27    of public accommodation. See 42 U.S.C. § 12182(a).
28          20.    Discrimination, inter alia, includes:



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 1                a.   A failure to make reasonable modification in policies, practices, or
 2                     procedures, when such modifications are necessary to afford such
 3                     goods, services, facilities, privileges, advantages, or accommodations
 4                     to individuals with disabilities, unless the entity can demonstrate that
 5                     making such modifications would fundamentally alter the nature of
 6                     such goods, services, facilities, privileges, advantages, or
 7                     accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
 8                b.   A failure to take such steps as may be necessary to ensure that no
 9                     individual with a disability is excluded, denied services, segregated or
10                     otherwise treated differently than other individuals because of the
11                     absence of auxiliary aids and services, unless the entity can
12                     demonstrate that taking such steps would fundamentally alter the
13                     nature of the good, service, facility, privilege, advantage, or
14                     accommodation being offered or would result in an undue burden. 42
15                     U.S.C. § 12182(b)(2)(A)(iii).
16                c.   A failure to remove architectural barriers, and communication barriers
17                     that are structural in nature, in existing facilities, and transportation
18                     barriers in existing vehicles and rail passenger cars used by an
19                     establishment for transporting individuals (not including barriers that
20                     can only be removed through the retrofitting of vehicles or rail
21                     passenger cars by the installation of a hydraulic or other lift), where
22                     such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
23                d.   A failure to make alterations in such a manner that, to the maximum
24                     extent feasible, the altered portions of the facility are readily
25                     accessible to and usable by individuals with disabilities, including
26                     individuals who use wheelchairs or to ensure that, to the maximum
27                     extent feasible, the path of travel to the altered area and the
28                     bathrooms, telephones, and drinking fountains serving the altered



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 1                        area, are readily accessible to and usable by individuals with
 2                        disabilities where such alterations to the path or travel or the
 3                        bathrooms, telephones, and drinking fountains serving the altered area
 4                        are not disproportionate to the overall alterations in terms of cost and
 5                        scope. 42 U.S.C. § 12183(a)(2).
 6          21.    Where parking spaces are provided, accessible parking spaces shall be
 7    provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
 8    eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
 9    (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
10    Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
11    be a van accessible parking space. 2010 ADA Standards § 208.2.4.
12          22.    Under the 1991 Standards, parking spaces and access aisles must be level
13    with surface slopes not exceeding 1:50 (2%) in all directions. 1991 Standards § 4.6.2.
14    Accessible parking spaces shall be at least 96 in (2440 mm) wide. Parking access aisles
15    shall be part of an accessible route to the building or facility entrance and shall comply
16    with 4.3. Two accessible parking spaces may share a common access aisle. Parked
17    vehicle overhangs shall not reduce the clear width of an accessible route. Parking spaces
18    and access aisles shall be level with surface slopes not exceeding 1:50 (2%) in all
19    directions. 1991 Standards § 4.6.3.
20          23.    Here, the access aisle is not level with the parking spaces as there was a
21    permanent rain channel installed within the boundary of the access aisle. Under the 2010
22    Standards, access aisles shall be at the same level as the parking spaces they serve.
23    Changes in level are not permitted. 2010 Standards § 502.4. “Access aisles are required
24    to be nearly level in all directions to provide a surface for transfer to and from vehicles.”
25    2010 Standards § 502.4 Advisory. Id. No more than a 1:48 slope is permitted.
26          24.    At least one accessible route shall connect accessible building, facilities,
27    elements, and spaces that are on the same site. 1991 ADA Standards § 4.3.2. A public
28    accommodation shall maintain in operable working condition those features of facilities



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 1    and equipment that are required to be readily accessible to and usable by persons with
 2    disabilities by the Act or this part. 28 C.F.R. 35.211(a).
 3          25.      Here, Defendants failed to provide accessible parking space designated for
 4    persons with disabilities as there were obstructions such as a “not an exit” sign and cone
 5    blocking access to the handicap parking space and access aisle.
 6          26.      A public accommodation shall maintain in operable working condition those
 7    features of facilities and equipment that are required to be readily accessible to and usable
 8    by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
 9          27.      By failing to maintain the facility to be readily accessible and usable by
10    Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
11    regulations.
12          28.      The Business has denied and continues to deny full and equal access to
13    Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
14    discriminated against due to the lack of accessible facilities, and therefore, seeks
15    injunctive relief to alter facilities to make such facilities readily accessible to and usable
16    by individuals with disabilities.
17                                  SECOND CAUSE OF ACTION
18                      VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
19          29.      Plaintiff incorporates by reference each of the allegations in all prior
20    paragraphs in this complaint.
21          30.      California Civil Code § 51 states, “All persons within the jurisdiction of this
22    state are free and equal, and no matter what their sex, race, color, religion, ancestry,
23    national origin, disability, medical condition, genetic information, marital status, sexual
24    orientation, citizenship, primary language, or immigration status are entitled to the full
25    and equal accommodations, advantages, facilities, privileges, or services in all business
26    establishments of every kind whatsoever.”
27          31.      California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
28    or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable



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 1    for each and every offense for the actual damages, and any amount that may be
 2    determined by a jury, or a court sitting without a jury, up to a maximum of three times the
 3    amount of actual damage but in no case less than four thousand dollars ($4,000) and any
 4    attorney’s fees that may be determined by the court in addition thereto, suffered by any
 5    person denied the rights provided in Section 51, 51.5, or 51.6.
 6          32.    California Civil Code § 51(f) specifies, “a violation of the right of any
 7    individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
 8    shall also constitute a violation of this section.”
 9          33.    The actions and omissions of Defendants alleged herein constitute a denial
10    of full and equal accommodation, advantages, facilities, privileges, or services by
11    physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
12    Defendants have discriminated against Plaintiff in violation of California Civil Code §§
13    51 and 52.
14          34.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
15    difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
16    damages as specified in California Civil Code §55.56(a)-(c).
17                                   THIRD CAUSE OF ACTION
18                 VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
19          35.    Plaintiff incorporates by reference each of the allegations in all prior
20    paragraphs in this complaint.
21          36.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
22    entitled to full and equal access, as other members of the general public, to
23    accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
24    and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
25    railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
26    of transportation (whether private, public, franchised, licensed, contracted, or otherwise
27    provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
28    places of public accommodations, amusement, or resort, and other places in which the



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 1    general public is invited, subject only to the conditions and limitations established by
 2    law, or state or federal regulation, and applicable alike to all persons.
 3          37.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
 4    corporation who denies or interferes with admittance to or enjoyment of public facilities
 5    as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
 6    individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
 7    the actual damages, and any amount as may be determined by a jury, or a court sitting
 8    without a jury, up to a maximum of three times the amount of actual damages but in no
 9    case less than one thousand dollars ($1,000) and any attorney’s fees that may be
10    determined by the court in addition thereto, suffered by any person denied the rights
11    provided in Section 54, 54.1, and 54.2.
12          38.    California Civil Code § 54(d) specifies, “a violation of the right of an
13    individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
14    constitute a violation of this section, and nothing in this section shall be construed to limit
15    the access of any person in violation of that act.
16          39.    The actions and omissions of Defendants alleged herein constitute a denial
17    of full and equal accommodation, advantages, and facilities by physically disabled
18    persons within the meaning of California Civil Code § 54. Defendants have
19    discriminated against Plaintiff in violation of California Civil Code § 54.
20          40.    The violations of the California Disabled Persons Act caused Plaintiff to
21    experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
22    statutory damages as specified in California Civil Code §55.56(a)-(c).
23                                 FOURTH CAUSE OF ACTION
24                 CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
25          41.    Plaintiff incorporates by reference each of the allegations in all prior
26    paragraphs in this complaint.
27          42.    Plaintiff and other similar physically disabled persons who require the use of
28    a wheelchair are unable to use public facilities on a “full and equal” basis unless each



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 1   such facility is in compliance with the provisions of California Health & Safety Code §
 2   19955 et seq. Plaintiff is a member of the public whose rights are protected by the
 3   provisions of California Health & Safety Code § 19955 et seq.
 4          43.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
 5   that public accommodations or facilities constructed in this state with private funds
 6   adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
 7   Title 1 of the Government Code. The code relating to such public accommodations also
 8   require that “when sanitary facilities are made available for the public, clients, or
 9   employees in these stations, centers, or buildings, they shall be made available for
10   persons with disabilities.
11          44.    Title II of the ADA holds as a “general rule” that no individual shall be
12   discriminated against on the basis of disability in the full and equal enjoyment of goods
13   (or use), services, facilities, privileges, and accommodations offered by any person who
14   owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
15   Further, each and every violation of the ADA also constitutes a separate and distinct
16   violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
17   award of damages and injunctive relief pursuant to California law, including but not
18   limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
19                                   FIFTH CAUSE OF ACTION
20                                         NEGLIGENCE
21          45.    Plaintiff incorporates by reference each of the allegations in all prior
22   paragraphs in this complaint.
23          46.    Defendants have a general duty and a duty under the ADA, Unruh Civil
24   Rights Act and California Disabled Persons Act to provide safe and accessible facilities
25   to the Plaintiff.
26          47.    Defendants breached their duty of care by violating the provisions of ADA,
27   Unruh Civil Rights Act and California Disabled Persons Act.
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 1         48.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
 2   has suffered damages.
 3                                    PRAYER FOR RELIEF
 4         WHEREFORE, Plaintiff respectfully prays for relief and judgment against
 5   Defendants as follows:
 6         1.     For preliminary and permanent injunction directing Defendants to comply
 7   with the Americans with Disability Act and the Unruh Civil Rights Act;
 8         2.     Award of all appropriate damages, including but not limited to statutory
 9   damages, general damages and treble damages in amounts, according to proof;
10         3.     Award of all reasonable restitution for Defendants’ unfair competition
11   practices;
12         4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
13   action;
14         5.     Prejudgment interest pursuant to California Civil Code § 3291; and
15         6.     Such other and further relief as the Court deems just and proper.
16                              DEMAND FOR TRIAL BY JURY
17         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
18   demands a trial by jury on all issues so triable.
19
20   Dated: December 17, 2024                       SO. CAL. EQUAL ACCESS GROUP
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23                                           By:    _/s/ Jason J. Kim___________
                                                    Jason J. Kim, Esq.
24                                                  Attorneys for Plaintiff
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